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                                                       ■   Defendant        Material Witness

          ■    You are restricted to your residence at all times except for medical needs or treatment, attorney visits, court appearances, and
              Court-ordered evaluations, counseling, and testing.                       , all of which must be preapproved by Supervising Agency;
               Release to PSA only        Release to USPO only
          You are placed in the third-party custody (Form CR-31) of                                                                             .
      ■   Clear outstanding     ■   warrants or   ■   DMV and traffic violations and provide proof to Supervising Agency within 90       days
          of release from custody.
          Do not possess or have access to, in the home, the workplace, or any other location, any device that offers internet access except
          as approved by Supervising Agency.               In order to determine compliance, you agree to submit to a search of your person
          and/or property by Supervising Agency in conjunction with the U.S. Marshal.
          Do not associate or have verbal, written, telephonic, electronic, or any other communication with any person who is less than
          the age of 18 except in the presence of a parent or legal guardian of the minor.
          Do not loiter or be found within 100 feet of any schoolyard, park, playground, arcade, or other place primarily used by children
          under the age of 18.
          Do not be employed by, affiliated with, own, control, or otherwise participate directly or indirectly in the operation of any daycare
          facility, school, or other organization dealing with the care, custody, or control of children under the age of 18.
          Do not view or possess child pornography or child erotica.          In order to determine compliance, you agree to submit to a search
          of your person and/or property, including computer hardware and software, by Supervising Agency in conjunction with the U.S.
          Marshal.
      ■ Other conditions:
     Defendant is not to be in any groups or gatherings of more than 5 people; Defendant is not to possess materials that
     can be used to make any incendiary or destructive device; Defendant is to obey all local restrictions related to
     COVID-19; Defendant is not to access any website that provides information about destructive or incendiary devices,
     arson, fires, or dangerous weapons; Defendant is not to engage in protests; Location monitoring is to be by voice ID.
     Defendant is not to possess any blasting agent, water gel, detonator, chemical, explosive material, or mixture of
     materials that are or could be considered “explosive materials,” as defined in “List of Explosive Materials” provided
     for in 27 CFR § 555.23, and as defined in 18 U.S.C. § 841(c),(d), (e), (f), (p), and (q), and 85 Fed. Reg. 128 (Jan.
     2, 2020) (“Commerce in Explosives; 2019 Annual List of Explosive Materials”) available at https://www.govinfo.gov/
     content/pkg/FR-2020-01-02/pdf/2019-28316.pdf.


                                                  GENERAL CONDITIONS OF RELEASE
  I will appear in person in accordance with any and all directions and orders relating to my appearance in the above entitled matter as
  may be given or issued by the Court or any judicial officer thereof, in that Court or before any Magistrate Judge thereof, or in any other
  United States District Court to which I may be removed or to which the case may be transferred.

  I will abide by any judgment entered in this matter by surrendering myself to serve any sentence imposed and will obey any order or
  direction in connection with such judgment as the Court may prescribe.

  I will immediately inform my counsel of any change in my contact information, including my residence address and telephone number,
  so that I may be reached at all times.

  I will not commit a federal, state, or local crime during the period of release.

  I will not intimidate any witness, juror, or officer of the court or obstruct the criminal investigation in this case. Additionally, I will not
  tamper with, harass, or retaliate against any alleged witness, victim, or informant in this case. I understand that if I do so, I may be
  subject to further prosecution under the applicable statutes.

  I will cooperate in the collection of a DNA sample under 42 U.S.C. § 14135a.

                                                                                      Defendant's Initials:              Date:
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                                                    ■   Defendant         Material Witness


                                     ACKNOWLEDGMENT OF DEFENDANT/MATERIAL WITNESS
     As a condition of my release on this bond, pursuant to Title 18 of the United States Code, I have read or have had interpreted to me
     and understand the general conditions of release, the preconditions, and the additional conditions of release and agree to comply with
     all conditions of release imposed on me and to be bound by the provisions of Local Criminal Rule 46-6.

     Furthermore, it is agreed and understood that this is a continuing bond (including any proceeding on appeal or review) which will
     continue in full force and effect until such time as duly exonerated.

     I understand that violation of any of the general and/or additional conditions of release of this bond may result in a revocation of
     release, an order of detention, and a new prosecution for an additional offense which could result in a term of imprisonment and/or
     fine.

     I further understand that if I fail to obey and perform any of the general and/or additional conditions of release of this bond, this bond
     may be forfeited to the United States of America. If said forfeiture is not set aside, judgment may be summarily entered in this
     Court against me and each surety, jointly and severally, for the bond amount, together with interest and costs. Execution of the
     judgment may be issued or payment secured as provided by the Federal Rules of Criminal Procedure and other laws of the
     United States, and any cash or real or personal property or the collateral previously posted in connection with this bond may be
     forfeited.




     Date                                   Signature of Defendant / Material Witness                        Telephone Number




     City and State (DO NOT INCLUDE ZIP CODE)



         Check if interpreter is used: I have interpreted into the                                                    language this entire form
          and have been told by the defendant that he or she understands all of it.



     Interpreter's Signature                                                                             Date



     Approved:
                               United States District Judge / Magistrate Judge                           Date

     If cash deposited: Receipt #                                 for $


     (This bond may require surety agreements and affidavits pursuant to Local Criminal Rule 46.)




                                                                                     Defendant's Initials:              Date:
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